
— Appeal by the defendant from a judgment of the County Court, Orange County (DeRosa, J), rendered September 5, 2007, convicting him of criminal possession of a controlled substance in the fifth degree, upon his plea of guilty, and imposing sentence.
Ordered that the judgment is affirmed.
We have reviewed the record and agree with the defendant’s *804assigned, counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Rivera, J.P., Florio, Angiolillo, McCarthy and Chambers, JJ., concur.
